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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                               Plaintiff,

               - against -                             Case No. 1:20-cv-03010-APM

Google LLC,

                               Defendant.



               DECLARATION OF MICHAEL A. LANCI IN SUPPORT OF
                    MOTION FOR ADMISSION PRO HAC VICE

       I, Michael A. Lanci, hereby declare:

       1.      I am counsel for Non-Party Petitioner Apple Inc. in the above-captioned action. I

have personal knowledge of the facts set forth in this Declaration, and if called as a witness, I

could and would testify competently to these facts under oath.

       2.      My full name is Michael A. Lanci.

       3.      I am an attorney with the law firm of Skadden, Arps, Slate, Meagher & Flom

LLP. My office address is 1 Manhattan West, New York, NY 10001-8600. My telephone

number is (212) 735-3423. My email address is michael.lanci@skadden.com.

       4.      I am admitted and a member in good standing of the New York State Bar.

       5.      I have never been disciplined by any bar.

       6.      Within the last two years, I have not been admitted pro hac vice in this Court.

       7.      I do not engage in the practice of law from an office located in the District of

Columbia.
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      I declare under penalty of perjury that the foregoing is true and correct. Executed on this

13th day of September, 2023 in New York, NY.


                                                           Michael A. Lanci
